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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Delphi Behavioral Health Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1901 West Cypress Creek Road, Ste. 500
                                  Fort Lauderdale, FL 33309
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor    Delphi Behavioral Health Group, LLC                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6232

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7

     A debtor who is a “small             Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                          Chapter 11. Check all that apply:
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Delphi Behavioral Health Group, LLC                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Exhibit 1 attached                                       Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


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Debtor   Delphi Behavioral Health Group, LLC                                         Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Delphi Behavioral Health Group, LLC                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 6, 2023
                                                  MM / DD / YYYY


                             X   /s/ Edward A. Phillips                                                   Edward A. Phillips
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim Chief Executive Officer




18. Signature of attorney    X   /s/ Paul Steven Singerman                                                 Date February 6, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Steven Singerman 378860
                                 Printed name

                                 Berger Singerman LLP
                                 Firm name

                                 1450 Brickell Avenue
                                 Suite 1900
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-755-9500                  Email address      singerman@bergersingerman.com

                                 378860 FL
                                 Bar number and State




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                                               EXHIBIT 1 to Voluntary Petitions1
    Debtor Name                     EIN                Date Filed                Case Number           District
    Delphi Behavioral Health        XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    Group, LLC                                                                                         Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
    61 Brown Street                 XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    Holdings, LLC                                                                                      Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
    Aloft Recovery LLC              XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
    Banyan Recovery                 XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    Institute, LLC                                                                                     Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
    Breakthrough Living             XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    Recovery Community,                                                                                Southern District of Florida
    LLC                                                                                                (Fort Lauderdale Division)
    California Addiction            XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    Treatment Center LLC                                                                               Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
    California Vistas               XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    Addiction Treatment LLC                                                                            Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
    DBHG Holding                    XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    Company, LLC                                                                                       Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
    Defining Moment                 XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    Recovery Community,                                                                                Southern District of Florida
    LLC                                                                                                (Fort Lauderdale Division)
    Delphi Health BuyerCo,          XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    LLC                                                                                                Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
    Delphi Health Group,            XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    LLC                                                                                                Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
    Delphi Intermediate             XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
    HealthCo, LLC                                                                                      Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
    Delphi Management LLC           XX-XXXXXXX         February 6, 2023          Pending               U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Fort Lauderdale Division)


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 For a detailed description of the relationship amongst the Debtors listed herein, please refer to the Declaration of Edward A. Phillips in
Support of Chapter 11 Petitions and First Day Pleadings.


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Debtor Name               EIN          Date Filed             Case Number     District
Desert View Recovery      XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
Community, LLC                                                                Southern District of Florida
                                                                              (Fort Lauderdale Division)
DR Parent, LLC            XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                              Southern District of Florida
                                                                              (Fort Lauderdale Division)
DR Sub, LLC               XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                              Southern District of Florida
                                                                              (Fort Lauderdale Division)
Las Olas Recovery LLC     XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                              Southern District of Florida
                                                                              (Fort Lauderdale Division)
Maryland House Detox,     XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
LLC                                                                           Southern District of Florida
                                                                              (Fort Lauderdale Division)
New Perspectives, LLC     XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                              Southern District of Florida
                                                                              (Fort Lauderdale Division)
Next Step Housing LLC     XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                              Southern District of Florida
                                                                              (Fort Lauderdale Division)
Ocean Breeze Detox, LLC XX-XXXXXXX     February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                              Southern District of Florida
                                                                              (Fort Lauderdale Division)
Ocean Breeze Recovery,    XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
LLC                                                                           Southern District of Florida
                                                                              (Fort Lauderdale Division)
Onward Living Recovery    XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
Community, LLC                                                                Southern District of Florida
                                                                              (Fort Lauderdale Division)
Palm Beach Recovery,      XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
LLC                                                                           Southern District of Florida
                                                                              (Fort Lauderdale Division)
Peak Health NJ, LLC       XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                              Southern District of Florida
                                                                              (Fort Lauderdale Division)
QBR Diagnostics, LLC      XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                              Southern District of Florida
                                                                              (Fort Lauderdale Division)
Rogers Learning, LLC      XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                              Southern District of Florida
                                                                              (Fort Lauderdale Division)




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Debtor Name                EIN          Date Filed             Case Number     District
SBH Haverhill, LLC         XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                               Southern District of Florida
                                                                               (Fort Lauderdale Division)
SBH Union IOP LLC          XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                               Southern District of Florida
                                                                               (Fort Lauderdale Division)
Summit at Florham Park,    XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
LLC                                                                            Southern District of Florida
                                                                               (Fort Lauderdale Division)
Summit Behavioral          XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
Health Limited Liability                                                       Southern District of Florida
Company                                                                        (Fort Lauderdale Division)

Summit Health BuyerCo,     XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
LLC                                                                            Southern District of Florida
                                                                               (Fort Lauderdale Division)
Summit IOP Limited         XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                               Southern District of Florida
                                                                               (Fort Lauderdale Division)
Union Fresh Start LLC      XX-XXXXXXX   February 6, 2023       Pending         U.S. Bankruptcy Court,
                                                                               Southern District of Florida
                                                                               (Fort Lauderdale Division)




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                        OMNIBUS WRITTEN CONSENT
                                    FOR
                            DR PARENT, LLC, AND
           DR SUB, LLC AND ITS DIRECT AND INDIRECT SUBSIDIARIES

                                      February 4, 2023

         The undersigned, being the sole manager (the “Manager”) of Banyan Recovery Institute,
LLC, a Florida limited liability company (“Banyan”), and being the sole member of the Special
Committee (the “Special Committee”) of DR Parent, LLC, a Delaware limited liability company
(“Parent”), for Parent and in Parent’s capacity as the sole Managing Member of DR Sub, LLC, a
Delaware limited liability company (“DR Sub”), for DR Sub and in DR Sub’s capacity as the sole
member of Delphi Intermediate HealthCo, LLC, a Delaware limited liability company (“Delphi
Intermediate”) and Delphi Management LLC, a Delaware limited liability company (“Delphi
Management”); and Delphi Intermediate, in its capacity as the sole member of each of Delphi
Health BuyerCo, LLC, a Delaware limited liability company (“Delphi Health”) and Summit
Health BuyerCo, LLC, a Delaware limited liability company (“Summit Health”); and Delphi
Health, in its capacity as the sole member of DBHG Holding Company, LLC, a Delaware limited
liability company (“DBHG”); and DBHG, in its capacity as the sole member of Delphi Behavioral
Health Group, LLC, a Delaware limited liability company (“Delphi Behavioral”); and Delphi
Behavioral, in its capacity as the sole member of each of Breakthrough Living Recovery
Community, LLC, a Delaware limited liability company (“Breakthrough”), Defining Moment
Recovery Community, LLC, a Delaware limited liability company (“Defining Moment”), Onward
Living Recovery Community, LLC, a Delaware limited liability company (“Onward Living”),
New Perspectives, LLC, a Delaware limited liability company (“New Perspectives”), Ocean
Breeze Recovery, LLC, a Florida limited liability company (“OBR”), Las Olas Recovery, LLC, a
Florida limited liability company (“Las Olas”), Delphi Health Group, LLC, a Delaware limited
liability company (“DHG”), Ocean Breeze Detox, LLC, a Florida limited liability company
(“Ocean Breeze”), Next Step Housing LLC, a Florida limited liability company (“Next Step”),
Palm Beach Recovery, LLC, a Florida limited liability company (“PBR”), and Rogers Learning,
LLC, a Florida limited liability company (“Rogers”); and DHG, in its capacity as the sole member
of each of California Addiction Treatment Center LLC, a Delaware limited liability company
(“CATC”), Aloft Recovery LLC, a Delaware limited liability company (“Aloft”), Maryland House
Detox, LLC, a Delaware limited liability company (“MHD”), and Desert View Recovery
Community, LLC, a Delaware limited liability company (“Desert View”); and CATC, in its
capacity as the sole member of California Vistas Addiction Treatment LLC, a Delaware limited
liability company (“CVAT”); and Summit Health, in its capacity as the sole member of each of
Summit Behavioral Health Limited Liability Company, a New Jersey limited liability company
(“Summit Behavioral”), SBH Haverhill, LLC, a Massachusetts limited liability company
(“SBHH”), Summit IOP Limited, a Pennsylvania limited liability company (“Summit IOP”), Peak
Health NJ, LLC, a New Jersey limited liability company (“Peak Health”), QBR Diagnostics, LLC,
a New Jersey limited liability company (“QBR”), Summit at Florham Park, LLC, a New Jersey
limited liability company (“SFP”), SBH Union IOP LLC, a New Jersey limited liability company
(“SBHU”), Union Fresh Start LLC, a New Jersey limited liability company (“Union Fresh”), and
61 Brown Street Holdings, LLC, a Massachusetts limited liability company (“Brown Street”),

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(each of DR Sub, Delphi Intermediate, Delphi Management, Delphi Health, Summit Health,
DBHG, Delphi Behavioral, Breakthrough, Defining Moment, Onward Living, New Perspectives,
OBR, Las Olas, DHG, Ocean Breeze, Next Step, PBR, Rogers, Banyan, CATC, Aloft, MHD,
Desert View, CVAT, Summit Behavioral, SBHH, Summit IOP, Peak Health, QBR, SFP, SBHU,
Union Fresh, and Brown Street sometimes being referred to as a “Subsidiary” and collectively as
the “Subsidiaries,” and each of Parent and Subsidiaries sometimes being referred to as a
“Company” and collectively, as the “Companies”) does hereby waive all formal requirements,
including the necessity of holding a formal or informal meeting, and any requirements for notice,
and pursuant to the applicable state limited liability company act and pursuant to the limited
liability company agreement or operating agreement of each Company, does hereby consent in
writing to the adoption of the following resolutions, taking such action by this written consent (this
“Written Consent”) in lieu of a meeting of the Special Committee, with effect from the time of the
execution of this Written Consent by the signatory set forth below on the date set forth above (the
“Effective Time”).

        WHEREAS, the Special Committee has reviewed and considered the operational condition
of the Companies and the business of the Companies on the date hereof, including the historical
performance of the Companies, the assets of the Companies, the current and long-term liabilities
of the Companies, the liquidity of the Companies, the strategic alternatives available to the
Companies, and the impact of the foregoing on the business, creditors and other parties in interest
of the Companies; and

         WHEREAS, the Special Committee has received, reviewed and considered the
recommendations of the legal and financial advisors of the Companies as to the relative risks and
benefits of seeking relief under chapter 11 of title 11 of the United States Code (11 U.S.C. §§ 101
et seq., the “Bankruptcy Code”), and the Special Committee has had an opportunity to consult with
the legal and financial advisors of the Companies and has considered each of the strategic
alternatives available to the Companies; and

       WHEREAS, the Special Committee has received, reviewed, and considered entering into
a commitment for debtor-in-possession financing on or about February 6, 2023, for a senior
secured super priority debtor-in-possession financing credit facility in an aggregate amount up to
$11,000,000 (the “DIP Facility”), the Special Committee has received and reviewed the credit
agreement and other documents relating to the DIP Facility (collectively, the “DIP Credit
Agreement”) with the lenders set forth therein, and the Special Committee agrees that the
Companies should obtain the benefits of the DIP Facility and desire that the Companies enter into
the DIP Credit Agreement; and

        WHEREAS, in connection with the Chapter 11 bankruptcy cases, the Special Committee
has received, reviewed, and considered entering into the that certain Asset Purchase Agreement,
by and among Lender AcquisitionCo LLC, a Delaware limited liability company (the “Buyer”),
and Union Fresh Start, LLC, d/b/a Serenity at Summit, Summit Behavioral Health Limited
Liability Company, d/b/a Summit Behavioral Health Princeton Junction and SBH Haverhill, LLC,
d/b/a Serenity at Summit New England (collectively, the “Sellers”) (the “Asset Purchase
Agreement”), whereby the Sellers propose to sell, transfer and assign to Buyer, and Buyer proposes
to purchase, acquire and assume from the Sellers, the Purchased Assets and Assumed Liabilities

                                                  2
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(as such terms are defined in the Asset Purchase Agreement), and the Special Committee agrees
that the Sellers should obtain the benefits of the Asset Purchase Agreement and desire that the
Sellers enter into the Asset Purchase Agreement, subject to any higher and better bids as may be
submitted by other interested parties, if any, in accordance with the bid and sale procedures as may
be approved by the Bankruptcy Court with jurisdiction over the bankruptcy cases the Companies
intend to commence; and

       WHEREAS, the Special Committee, on behalf of the Sellers, has reviewed the Asset
Purchase Agreement, and the terms and provisions thereof, as well as all documents related thereto
and/or contemplated thereby, and believe that (i) the Companies will receive substantial benefit
by the Sellers entering into the Asset Purchase Agreement and consummating the transactions
contemplated therein, and (ii) it is fair, advisable and in the best interests of the Companies to
approve the terms and provisions thereof, as well as all documents related thereto and/or
contemplated thereby (collectively, the “Transaction Documents”), the execution, delivery and
performance of same and each of the transactions contemplated thereby (collectively, the
“Transaction”); and

        WHEREAS, in the business judgment of the Special Committee, it is in the best interests
of the Companies, their creditors, employees, and other parties in interest that a petition be filed
by each Company seeking relief under the provisions of the Bankruptcy Code; and

        WHEREAS, the Special Committee desires that the Companies file or cause to be filed
voluntary petitions for relief under chapter 11 of the Bankruptcy Code (collectively, the
“Petitions”) and the following resolutions are hereby adopted by this Written Consent:

I.     Chapter 11 Cases

        IT IS THEREFORE RESOLVED, that the Special Committee hereby approves the filing
of Petitions on behalf of the Companies in the United States Bankruptcy Court for the Southern
District of Florida (collectively, the “Chapter 11 Cases”) on or about February 6, 2023; and it is
further

        RESOLVED, that appropriate employees and consultants of the Companies are hereby
authorized, directed and empowered (i) to file the Petitions for the Companies, (ii) to commence
the Chapter 11 Cases, and (iii) to execute and deliver any and all documents and to perform any
and all such acts as are reasonable, advisable, expedient, convenient, proper and necessary to effect
any of the foregoing; and it is further

        RESOLVED, that the Special Committee hereby authorizes the sole member of the Special
Committee and/or the interim chief executive officer of the Companies (collectively, the
“Authorized Officers”), and each of them, acting alone or in any combination, on behalf of the
Companies, to prepare, execute and/or verify and to cause to be filed, and any other applicable
officer, be and each hereby is, authorized to attest to, any and all documents required by, necessary
or appropriate to, the filing and administration of the Chapter 11 Cases, including but not limited
to the Petitions, as well as all other ancillary documents (including, but not limited to, petitions,
schedules, statements, lists, motions, applications, DIP Credit Agreement(s), the Transaction

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Documents, objections, responses, affidavits, declarations, complaints, pleadings, disclosure
statements, plans of reorganization or liquidation and other papers or documents), including but
not limited to, any amendments, modifications or supplements thereto (collectively, the “Chapter
11 Documents”); and it is further

        RESOLVED, that any of the Authorized Officers, who may act without the joinder of any
other officer, is hereby authorized to execute and deliver the Chapter 11 Documents in the name
and on behalf of each of the Companies and otherwise to take all actions (including, without
limitation, (i) negotiate, execute, deliver, and file any agreement, certificate, or other instrument
or document, (ii) pay any retainer or consideration for any professional retained by the Companies
in the Chapter 11 Cases, and (iii) pay other expenses as any such Authorized Officer may deem
necessary, appropriate, or advisable (such acts to be conclusive evidence that such Authorized
Officer deemed the same to be necessary, appropriate, or advisable) in order to commence and
administer the Chapter 11 Cases, and all acts of the Authorized Officer taken pursuant to the
authority granted herein, or having occurred prior to the date hereof in order to effect such
transactions, are hereby approved, adopted, ratified, and confirmed in all respects; and it is further

II.    Retention of Professionals

        RESOLVED, that the Special Committee hereby approves and ratifies the employment by
the Companies of the law firm of Berger Singerman LLP (“Berger Singerman”), to represent the
Companies as their general bankruptcy counsel and to assist the Companies in carrying out their
duties under the Bankruptcy Code and all related matters, and to take any and all actions
appropriate to advance the Companies’ rights, including the preparation of pleadings and filings
in the Chapter 11 Cases; and in connection therewith, the Authorized Officers be and each of them,
acting alone or in any combination, hereby is, authorized, directed and empowered, on behalf of
and in the name of the Companies to execute appropriate retention agreements with Berger
Singerman, pay appropriate retainers to Berger Singerman prior to and immediately upon the filing
of the Chapter 11 Cases, and to cause to be filed an appropriate application for authority to retain
the services of Berger Singerman; and it is further

        RESOLVED, that the Special Committee hereby reapproves and ratifies the employment
by the Companies of Getzler Henrich & Associates (“GH”), to provide the restructuring and other
services detailed therein to the Companies, and to provide the services of an Interim Chief
Executive Officer, all pursuant to the retention agreement dated December 22, 2022 and as restated
on January 25, 2023, and in connection therewith, the Authorized Officers be and each of them,
acting alone or in any combination, hereby is, authorized, directed and empowered, on behalf of
and in the name of the Companies to execute appropriate retention agreements with GH, pay
appropriate retainers to GH prior to and immediately upon the filing of the Chapter 11 Cases, and
to cause to be filed an appropriate application for authority to retain the services of GH; and it is
further

        RESOLVED, that the retention of Epiq Corporate Restructuring, LLC (“Epiq”) pursuant
to the retention agreement having an effective date of January 10, 2023, the payment of any
retainers, and the approval of any matters related thereto, be and hereby are ratified, adopted and
approved in all respects as the acts and deeds of the Companies, and the Authorized Officers, and

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each of them, hereby are authorized and directed to immediately upon and after the filing of the
Chapter 11 Cases, execute and cause to be filed an application for authority to retain Epiq as the
Companies’ notice and claims agent; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Companies to employ any other individual and/or firm as professionals or consultants or financial
advisors to the Company as are deemed necessary to represent and assist the Companies in carrying
out their duties under the Bankruptcy Code, and in connection therewith, the Authorized Officers
acting alone or in any combination, hereby are, authorized, directed and empowered, on behalf of
and in the name of the Companies, to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Chapter 11 Cases, and cause to be filed
an appropriate application for authority to retain the services of such firms; and is further

III.   Debtor-in Possession Financing

        RESOLVED, that the Authorized Officers be, and hereby are, authorized, directed, and
empowered, on behalf of and in the name of the Companies, (A) to obtain post-petition financing
according to the terms negotiated by the senior management of the Companies, including under
debtor-in-possession credit facilities or relating to the use of cash collateral, and (B) to secure the
payment and performance of any post-petition financing by (i) pledging or granting liens and
mortgages on, or security interest in, all or any portion of the Companies’ assets, including all or
any portion of the issued and outstanding capital stock, partnership interests, or membership
interests of any subsidiaries of the Companies, whether now owned or hereafter acquired, and (ii)
entering into or causing to be entered into such security agreements, pledge agreements, control
agreements, intercreditor agreements, mortgages, deeds of trust and other agreements as are
necessary, appropriate, or desirable to effectuate the intent of, or matters reasonably contemplated
or implied by, this resolution in such form, covering such collateral and having such other terms
and conditions as are approved or deemed necessary, appropriate or desirable by the Authorized
Officer executing the same, the execution thereof by such Authorized Officer to be conclusive
evidence of such approval or determination; and it is further

        RESOLVED, that the form, terms, and provisions of the DIP Facility, the DIP Credit
Agreement, and each of the other DIP Facility Documents (as defined below), and the Companies’
incurrence and performance of their obligations under the DIP Facility, the DIP Credit Agreement,
and each of the other DIP Facility Documents (as defined below), including any borrowings
thereunder, granting of liens on, or security interests in, all or any portion of the Companies’ assets
as provided therein, and the consummation of the transactions contemplated thereby, be, and
hereby are, in all respects authorized and approved; and further resolved, that each of the
Authorized Officers be, and hereby is, authorized and empowered to execute and deliver, and to
cause the Companies to incur and perform their respective obligations under the DIP Facility and
the DIP Credit Agreement and each of the agreements, documents, and instruments contemplated
by any of the foregoing or requested by the DIP Facility lenders in connection with any of the DIP
Facility (together with the DIP Credit Agreement, the “DIP Facility Documents”), in the name and
on behalf of the Companies under their seals or otherwise, substantially in the forms presented to
the Special Committee, with such changes therein and modifications and amendments thereto as

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any Authorized Officer may in his or her sole discretion approve, which approval shall be
conclusive evidenced by his or her execution thereof; and it is further

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendments and restatements, supplements,
modifications, renewals, extensions, replacements, consolidations, substitutions, and extensions of
the DIP Facility and the DIP Facility Documents that shall in their sole judgment be necessary,
proper or advisable; and it is further

         RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the DIP Credit Agreement and any of the
other DIP Facility Documents be, and hereby are, in all respects confirmed, approved, and ratified;
and it is further

IV.    Asset Purchase Agreement

        RESOLVED, the Special Committee finds and deems the Transaction to be fair to, and
desirable and in the best interests of, the Companies and hereby, as described further in the
resolutions that follow, authorize and approve in all respects the Asset Purchase Agreement, the
Transaction Documents, and the consummation of the Transaction, and it is further resolved, that
each of the Authorized Officers be, and hereby is, authorized and empowered to execute and
deliver, and to cause the applicable Companies to incur and perform their respective obligations
under the Asset Purchase Agreement and the Transaction Documents, subject to any higher and
better bids as may submitted by other interested parties, if any, in accordance with the bid and sale
procedures as may be approved by the Bankruptcy Court with jurisdiction over the bankruptcy
cases the Companies intend to commence; and it is further

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendments and restatements, supplements,
modifications, schedules, exhibits, renewals, extensions, replacements, consolidations,
substitutions, and extensions of the Asset Purchase Agreement and the Transaction Documents
that shall in their sole judgment be necessary, proper or advisable; and it is further

        RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the Asset Purchase Agreement and any of
the other Transaction Documents be, and hereby are, in all respects confirmed, approved, and
ratified; and it is further

V.     General Authorizations and Ratifications

       RESOLVED, that the Authorized Officers be, and each of them acting alone or in any
combination is, hereby authorized, directed and empowered from time to time in the name and on
behalf of the Companies, to (i) take such further actions and execute and deliver or cause to be
executed and delivered, where necessary or appropriate, file (or cause to be filed) with the
appropriate governmental authorities all such other certificates, instruments, guaranties, notices
and documents as may be required or as such Authorized Officer may deem necessary, advisable

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or proper to carry out the intent and purpose of the foregoing resolutions, including the execution
and delivery of any security agreements, pledges, financing statements and the like, (ii) perform
the obligations of the Companies under the Bankruptcy Code, the DIP Facility, the DIP Credit
Agreement, any other DIP Facility Documents, the Asset Purchase Agreement, and any other
Transaction Documents, with all such actions to be performed in such manner, and all such
certificates, instruments, guaranties, notices and documents to be executed and delivered in such
form, as the Authorized Officer performing or executing the same shall approve, and the
performance or execution thereof by such Authorized Officer shall be conclusive evidence of the
approval thereof by such officer and by the Companies, and (iii) incur and pay such fees, expenses
and other amounts as in his, her or their judgment shall be necessary, proper or advisable in order
to fully carry out the intent and accomplish the purposes of each of the foregoing resolutions; and
it is further

        RESOLVED, that the Authorized Officers be, and each of them acting alone is, hereby
authorized, directed and empowered from time to time in the name and on behalf of each of the
Companies, to adopt resolutions and otherwise exercise the rights and powers of the Companies
as such Authorized Officer may deem necessary, appropriate or desirable; and that thereupon such
resolutions shall be deemed adopted as and for the resolutions of the applicable Companies; and it
is further

        RESOLVED, that all of the acts and transactions relating to matters contemplated by the
foregoing resolutions, which acts would have been approved by the foregoing resolutions except
that such actions were taken prior to the execution of these resolutions, are hereby in all respects,
confirmed, ratified and approved; and it is further

      RESOLVED, that these resolutions and actions shall be the actions of the Special
Committee, and the Chief Executive Officer of Parent is hereby directed to place this Written
Consent with the records of the proceedings of the Special Committee and with the records of each
Company; and it is further

       RESOLVED, that this Written Consent may be executed and delivered by electronic
transmission with the same effect as delivery of an original.

                          [SIGNATURES ON FOLLOWING PAGES]




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